              Case 1:07-cr-00333-LJO Document 33 Filed 06/04/08 Page 1 of 3


 1   McGREGOR W. SCOTT
     United States Attorney
 2   STANLEY A. BOONE
     Assistant U.S. Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, CA 93721
 4   Telephone: (559) 497-4000
 5
 6
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            )    CASE NO. 1:07-CR-00333 LJO
                                                          )
12              Plaintiff,                                )    STIPULATION TO CONTINUE HEARING
                                                          )    AND PROPOSED ORDER
13   v.                                                   )
                                                          )
14   MARIO JURADO PENA, and JACQUELINE                    )
     CHAVEZ JURADO,                                       )
15                                                        )
                Defendants                                )
16                                                        )
17
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18
     counsel, Stanley A. Boone, Assistant United States Attorney for Plaintiff, David V. Balakian, Attorney
19
     for Defendant, MARIO JURADO PENA, and Cadee Peters, Attorney for Defendant, JACQUELINE
20
     CHAVEZ JURADO, that the hearing on the Motions presently set for June 6, 2008, at 9:00 a.m., may
21
     be continued to June 20, 2008, at 9:00 a.m.
22
            The continuance is necessary because Government counsel is out of the office on business for
23
     trial preparation and will not be available for the hearing.
24
     ////
25
     ////
26
     ////
27
     ////
28

                                                          1
               Case 1:07-cr-00333-LJO Document 33 Filed 06/04/08 Page 2 of 3


 1            The parties also agree that time continues to be excluded pursuant to the Speedy Trial Act under
 2   18 U.S.C. §§ 3161(h)(1)(F) and (h)(8)(A) for the Court's consideration of the pre-trial motion and the
 3   parties’ preparation of the case.
 4
 5   DATED: June 4, 2008                           By     /s/ Stanley A. Boone
                                                          STANLEY A. BOONE
 6                                                        Assistant U.S. Attorney
 7
 8   DATED: June 4, 2008                           By     /s/ David V. Balakian
                                                          DAVID V. BALAKIAN
 9                                                        Attorney for Mario Jurado Pena
10
11   DATED: June 4, 2008                           By     /s/ CADEE PETERS
                                                          CADEE PETERS
12                                                        Attorney for Jacqueline Chavez Jurado
13
14
15
                                                      ORDER
16
     IT IS THE COURT’S UNDERSTANDING THAT OFFERS WERE SENT OUT TO DEFENSE
17   COUNSEL SEVERAL WEEKS AGO, AND THAT NO WORD HAS BEEN RECEIVED FROM
     DEFENSE COUNSEL. UNDER THESE CIRCUMSTANCES, HAD IT BEEN DEFENSE COUNSEL
18   WHO HAD BEEN ASKING FOR THE TWO WEEK CONTINUANCE, THE REQUEST WOULD
     HAVE BEEN DENIED.
19
     THE HEARING ON JUNE 20, 2008 WILL ENTAIL:
20   1. A VERY BRIEF HEARING ON THE BOILERPLATE DISCOVERY MOTIONS AND
     2. A TRIAL SETTING CONFERENCE (BECAUSE THE CASE IS OLD AND THERE IS
21         NOTHING COMPLEX ABOUT IT, THE TRIAL DATE WILL BE SET SOONER
           THAN LATER);
22         OR
     3. CHANGES OF PLEA.
23
     NO FURTHER CONTINUANCES OR DELAYS WILL BE ENTERTAINED. THE REQUEST FOR
24   A CONTINUANCE PURSUANT TO STIPULATION IS GRANTED.
25
26
27   IT IS SO ORDERED.
28   Dated:      June 4, 2008                            /s/ Lawrence J. O'Neill

                                                         2
              Case 1:07-cr-00333-LJO Document 33 Filed 06/04/08 Page 3 of 3


 1   b9ed48                              UNITED STATES DISTRICT JUDGE
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               3
